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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

EM]LY MCINTYRE, and

CHRISTOPHER MCINTYRE, as co-administrators

0f the ESTATE OF JOHN L. McINTYRE
Plaintiffs,

V.

THE UNITED STATES OF AMERICA,

H. PAUL RICO,

JOHN M. MORRIS,

JOHN J. CONNOLLY,

RODERICK KENNEDY,

ROBERT FITZPATRICK,

JAMES RING,

JAMES GREENLEAF,

JAMES AHEARN,

KEVIN J. WEEKS,

JAMES J. BULGER,

STEPHEN J. FLEMMI, and

JOHN DOES, Number 1-50,
Defendants.

CIV]]_l ACTION NO. Ol-IO4OS-RCL

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MEMORANDUM AND
ORDER ON UNITED STATES’ MOTION TO DISMISS

LlNDSAY, District Judge.
I. Introduction
This is a suit filed by the Estate (the “Estate”) of John L. McIntyre (“John McIntyre” or
“Mclntyre”), of which Mclntyre’s mother, EInily McIntyre, and his brother, Christopher

Mclntyre, are co-administrators (the “plaintiffs”). The defendants are the United States of

America (“United States”); several individuals, who at the times relevant to the complaint were

 

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agents of the Federal Bureau of Investigation (“FBI”); and three alleged members of the Winter
.Hill Gang, an alleged criminal organization The plaintiffs’ claims relate to the 1984 homicide of
John McIntyre. The complaint asserts fourteen counts (numbered from one to thirteen, with two
counts numbered “ten”), of which seven are asserted against the United States under the Federal
Tort Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b), 2671-2680. The common theme of all of the
counts against the United States is that acts or omissions of the United States and its agents
proximately caused the homicide of John McIntyre and the kidnapping and torture of him that
preceded his death. The United States has moved to dismiss all counts against it under Fed. R.
Civ. P. 12(b)(1).
II. Background

According to the complaint, John McIntyre was the engineer on a ship called the Valhalla
that had been used to attempt to deliver weapons from Massachusetts to the Irish Republican
Army (“IRA”) in Ireland. Compl. ‘][ 245. ln mid-October 1984, McIntyre revealed this
information to Richard Bergcron (“Bergeron”) of the Quincy Massachusetts Police Department
and began to cooperate with the police. Id. McIntyre told Bergeron that Joseph Murray
(“Murray”), the owner of the Valhalla, was connected to J ames J. Bulger (“Bulger”), an alleged
leader of the Winter Hill Gang, and that Bulger, through his alleged criminal associates Kevin
Weeks (“Weeks”) and Patrick Nee (“Nee”), was involved in the Valhalla arms shipment ld. ‘][
246. Bergeron arranged for agents from the United States Customs Service and the FBI to
participate in the questioning of McIntyre. ld. ‘][ 249. The complaint alleges that in October or
November 1984, Bulger and his associates became aware that McIntyre was cooperating with the
authorities and informing them about illegal activities carried out by Bulger and his associates

Ia'. ‘][ 255. As a result, Bulger and another alleged criminal associate, Stephen Flemmi

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(“Flemmi”), Weeks and others kidnapped, tortured, and murdered McIntyre on or about
November 30, 1984. ld. ‘][ 256. At the time of McIntyre’s murder, Bulger and Flemmi were both
confidential informants for the FBI; the defendant John J. Connolly, then an FBI special agent,
was their “handler.” Ia’. ‘][83. The complaint alleges that Connolly and other FBI agents and the
FBI itself were at best negligent in failing to control Bulger and Flemrni and in failing to protect
John McIntyre, id. ‘][ 378, and at worse deflected and squelched prosecutions and criminal
investigations of Bulger and Fl.emmi and provided information to them about confidential
informants like John McIntyre, id. ‘][ 372.

The complaint, and materials submitted by the parties in their briefing on this motion',
include the following facts that are relevant to the questions raised by the present motion. First,
the government has provided the court with a copy of the book Valhalla ’s Wake: The IRA, MI6,
and the Assassination ofa Young American (1989) (“Valhalla’$ Wake”), Wr`itten by John Loftus
(“Loftus”), then the attorney for the McIntyre family (including the plaintiffs), and Ernily
McIntyre. The book includes the following statements and assertions, among many others.

Before John McIntyre’s disappearance, “[c]ustoms needed John [Mclntyre] to take the
stand against Joe l\/Iurray,2 [Philip] Brady [of the United States Customs Service] explainedl If

John agreed, Brady promised that he would be admitted into the Witness Protection Program and

 

l On a motion to dismiss for lack of subject matter jurisdiction, pursuant to Fed. R. Civ.
P. 12(b)(1), the court is permitted to look beyond the pleadings without converting the motion to
one for summary judgment. Gonzalez v. United Srares, 284 F.3d 28], 288 (1Sl Cir. 2002).

2 Murray is described in the book as an underworld associate of the “Mafia” whose
territory ranged from Winter Hill, in the Boston suburb of Revere, north to the industrial city of
Lynn and the bedroom communities of the North Shore. Id. at 2W3. Murray is also described as a
man who “worked for the mob, but [who] was an hishman just the same and a willing soldier in
the provisional wing of the [RA.” ld. at 4.

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put forever beyond the reach of the Mob’s retribution.” Ia'. at 172. Later, “John couldn’t believe
that he was being double-crossed by grunts from Brady’s office. lt was obvious that customs
[sic], in its typically graceless fashion, was now trying to blackmail him. If he didn’t cooperate
in its investigation of Joe Murray, customs [sic] would expose him as an informer to his buddies
in the IRA and the Mob.” Ia'. at 175.

Days after McIntyre’s disappearance, his girlfriend “discovered [Mclnytre’s] pickup in
the parking lot of Murray’s home-heating oil business in Charlestown. [She] knew of John’s
growing dread of retribution by Murray. She began to fear that Joe had kidnapped John and
killed him.” Id. at 184-85. “A few days later, the McIntyres were presented with another piece
of chilling news. John’s blue pickup, the same one Robbi [Mclntyre’s girlfriend] had spotted at
Murray’s, was found parked under the Neponset Bridge in Quincy.” Id. at 187. “When
[Mclntyre’s father] opened [an envelope the tow-truck operator had found on the pickup’s
dashboard], his ailing heart skipped a beat. Inside was John’s VA check. If John hadn’t cashed
this check, thought Mclntyre, he must be in real trouble. For the first time, he had some hard
evidence to justify his brooding fears for his son’s life.” Ia'.

Some time later, Loftus reportedly had the following conversation with Assistant United
States Attomey Gary Crossen (“AUSA Crossen”):

“Was John really killed because he Was a government source?” asked

Loftus.

“Yeah,” replied Crossen. “We offered him the Witness Protection

Program because we were concerned for his safety, but he refused. Now everyone

I’ve talked to is pretty certain that he’s dead.”

ld. at 210.

In the end, the book proposes, supposedly based upon information from a “source” within

British intelligence, id. at 194-96, and “an [RA courier,” id. at 213-15, that McIntyre was killed

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by British agents “to provide cover for their IRA mole and to confuse IRA efforts to find and
punish the real double agent in their midst,” id. at 196.

According to Valhalla’s Wake, in .luly 1985, Loftus wrote a letter (the “1985 Loftus
letter”) to then Attorney Gcneral Edwin Meese, in which Loftus referred to John McIntyre as “the
deceased,” and stated that “[i]t is murder, not merely negligent homicide, when the government
knowingly exposes an informant.” ld. at 210~11. In this letter, Loftus threatened to file a civil
action against the United States for John McIntyre’s wrongful death. Id. at 211. Next, in 1986,
Loftus sent a letter (the “1986 Loftus letter”) to the Department of .lustice, Customs Service,
Drug Enforcement Administration (“DEA”), the United States Attorney for the District of
Massachusetts, and the Secretary of State, on behalf of the plaintiffs in this case and another
member of the McIntyre family, claiming damages under the FTCA for the wrongful death of
John McIntyre and demanding, under the Freedom of Information Act, “copies of each file,
document or dossier in which John L. McIntyre is named as a subject or cross-reference.” United
States’ Reply Brief, Ex. B (Letter from Loftus and authorizations from the McIntyres for Loftus

to act as their attorney “concerning the wrongful death of John L. McIntyre”).3

 

3 The United States provided a copy of the 1986 Loftus letter as an attachment to its reply
brief. In their surreply brief, the plaintiffs pejoratively described the letter as one “purportedly
transmitted by an attorney representing the McIntyre family” and emphasized that “the
government does not contend that this correspondence amounts to presentation of an
administrative claim.” Plaintiffs’ Surreply Brief at 9. But, at oral argument, the plaintiffs argued
briefly that the 1986 Loftus letter could be a valid administrative claim, that the government had
failed to send a denial letter, and that therefore the six-month time limit to file suit after an
agency’s denial of a claim, 28 U.S.C. § 2675(b), had never begun running. See Pascale v. United
States, 998 F.2d 186, 192-93 (3d Cir. 1993) (“As long as a claimant files an administrative claim
within two years of its accrual and the agency does not send notice of final denial, the claimant
may wait indefinitely before filing suit.”). Given that the plaintiffs did not submit the 1986
Loftus letter to the court; fully accepted with approval, in their surreply, the contention of the
United States that the letter was not a valid claim letter; and filed a new administrative claim in
May 2000, I conclude that the plaintiffs cannot now argue that their suit is based upon the 1986
Loftus letter.

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Also in 1986, Emily McIntyre requested that the Veterans’ Administration place a
headstone marker for John McIntyre at the Massachusetts National Cemetery. United States’
Combined Motion and Brief For Leave To File a Supplement to its Reply to Plaintiffs’
Opposition to the United States’ Motion To Dismiss (hereinafter “`United States’ Supplement to
Reply”), Ex. 2 (Declaration of Kurt Rotar); see also Valhalla’s Wake at 211. In 1991-92, Emily
McIntyre applied to the Veterans’ Administration for death benefits from John McIntyre’s policy.
United States’ Supplement to Reply, Ex. 1.

In the years after McIntyre’s disappearance, Boston-area newspapers published many
articles that suggested both the general theory that McIntyre was killed because he was believed
to be an informant and the more specific theory that the plaintiffs now present in their complaint.
Emily McIntyre is either quoted or mentioned in several of these articles. l highlight below the
contents of those articles that appear most pertinent to this motion.

A December 24, 1992 Boston Glc)be article, which quoted Emily McIntyre, reported that
AUSA Crossen found “suggestions that British agents killed McIntyre unfounded and
implausible” and quoted him as saying that “[p]eople disappear in cases in which loe Murray
was involved.” United States’ Motion To Dismiss, Ex. 3 (Kevin Cullen, Valhalla Case Now a
Little Murkier, Boston Globe, Dec. 24, 1992, at 15, available ar 1992 WL 4207096). The same
article described Murray and Nee, “an ]rish-bom career criminal who was the last person seen
with McIntyre,” as “members of an organized crime group allegedly headed by J ames J. (Whitey)
Bulger.” Id.

On January 29, 1995, the Boston Globe published an extended “Special Report” about

McIntyre and the Valhalla gunrunning plot. United States’ Motion To Dismiss, Ex. 4 (Kevin

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Cullen, IRA Marz Tells a Tale of Betrayal, Boston Globe, Jan. 29, 1995, at 1, available at 1995
WL 5919073). This article, which quoted Emily McIntyre extensively, stated that “M.urray and
Nee were part of a criminal organization allegedly headed by J ames J. (Whitey) Bulger, Who Was
charged with racketeering this month and is now a fugitive.” Id. Bulger reportedly “was
involved in helping to finance [the Valhalla arms shipment], or at least sanctioned the
involvement of his underlings.” Id. Furthermore, according to the article, “[f]ederal agents say
the last person they saw with McIntyre was Nee.” ld. The article also quoted Sean O’Callaghan,
an IRA agent turned informcr, as saying that he did not believe that British intelligence killed
John McIntyre. Icl. Nevertheless, according to the article, “Emily McIntyre continues to
subscribe to the conspiracy theory that her son was murdered by British spies.” Icl. While Jerry
Padalino, a United States Customs Agent, said that they had “no proof that [McIntyre] [Wa]s
dead,” the article stated that “[n]either does Emily McIntyre, although every fiber of her being
believes he is.” Id.

A December 11, 1996 Boston Globe article, which also quoted Emily McIntyre, stated
that “l\/lclntyre, whose body has not been reeovered, is believed to have been killed by
underworld figures who organized the 1984 IRA gunrunning mission aboard a Gloucester fishing
trawler, the Valhalla.” United States’ Motion To Dismiss, Ex. 5 (Kevin Cullen, Former IRA
Double Agent F reed F rom Lz_'fe Sentence, Boston Globe, Dec. 11, 1996, at B1, available ar 1996
WL 6889381). The article also reported that “[c]onversations recorded in a Quincy
condominium by US Drug Enforcement Administration agents suggested the plot was run by the
criminal organization of James J. (Whitey) Bulger....” Ia'.

A June 14, 1997 Boston Globe article stated: “Although McIntyre’s body was never

found, and no one has been charged with his murder, there was a consensus in law enforcement
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that Pat Nee, a member of Bulger’s gang, had brought McIntyre to Bulger and Bulger’s associate,
Stephen “The Rifleman” Flemmi, who later killed him in East Boston.” United States’ Motion
To Dismiss, Ex. 6 (Kevin Cullen, Bulger Hurt IRA Ejj"`c)rt, Sc)arces Say “Whitey” Allegeclly Sank
Gunrunning Bicl, Boston Globe, June 14, 1997, at A1, available at 1997 WL 6257528).

At about the same ti me, the FBI publicly acknowledged, and the Boston Globe reported,
that Bulger and Flemmi had worked as FBI informants for decades, and Flemmi alleged in an
affidavit that the FBI had assured him and Bulger that they would not be prosecuted for any
crimes that they committed, short of murder. United States’ Motion To Dismiss, Ex. 8 (Patricia
Nealon, Flemmi Says He, Bulger GOZ' FBI’S OK on Crimes, Boston Globe, June 26, 1997, at Al,
available at 1997 WL 6259022).

An April 16, 1998 Boston Herald article reported that Emily McIntyre attended hearings
before United States District Court Judge Mark L. Wolf in the federal racketeering case against
Bulger, Flemmi, Francis P. Salemme, and two others (the “Salemme hearings”). United States’
l\/.[otion To Dismiss, Ex. 7 (Ralph Ranalli, F ed Agent.' FBI Got Too Close to Mob, Boston
Herala’, Apr. 16, 1998, at 5, available at 1998 WL 7342855). See also United States v. Salemme,
91 F. Supp. 2d 141 (D. Mass. 1999), rev ’d in part, United States v. Flemmi, 225 F. 3d 78 (1SI Cir.
2000). The article described the hearings as “exploring the FBI’s controversial, decades-long
informant relationships with Bulger and Flemmi” and reported the testimony of former DEA
official, Robert Stutman, that he suspected that the FBI had interfered with the DEA’s
investigation of Bulger and Flemmi. Id. The article concluded: “After watching Flemmi, her

son’s alleged killer, for less than an hour, McIntyre’s mother left the courtroom in tears.” Ia'.

Followin g the hearing on the present motion, Emily McIntyre filed an affidavit in which she

 

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acknowledged having “briefly attended one court hearing involving Stephen Flemmi” and
finding that she “had to leave the courtroom.” Affidavit of Emily McIntyre ‘1[5.

A May 21, 1998 Boston Globe article reported that “last summer, after the FBI admitted
that Bulger had been an informant for years, sources said authorities now believe that Bulger
and Flemmi tortured John McIntyre, who was suspected of cooperating With authorities.”
United States’ l\/Ioti on To Dismiss, Ex. 9 (Patricia Nealon, DEA Unable 10 Link Bulger to IRA
Guns, Bosron Globe, May 21, 1998, at BZ, available at 1998 WL 9134795).4

The plaintiffs argue that these articles do not suggest that the McIntyres had actual
knowledge of facts critical to their claim in this case, namely that the United States failed
adequately to supervise Connolly who leaked to Bulger and Flemmi that McIntyre was
cooperating with law enforcement officials The United States, on the other hand, argues that the
articles, together with the 1985 Loftus letter, indicate that the McIntyres had reason to suspect
foul play on the part of the government at least fourteen years before the present claim was filed.

The United States cites Cutri)rg v. United States, 204 F. Supp. 2d 216, 224-25 (D. Mass. 2002),

 

4 The United States did not produce, but I have found, another Boston Herald article
pertinent to the present motion. See lack Sullivan, Quincy Man Says Mobster Threatened Him,
Boston Herald, Jan. 29, 2000, at 7, available at 2000 WL 4315544. The article, which reported
an interview with Emily and Christopher Mclntyre, includes the following statements:

In an interview at their attomey’s office yesterday, Chris McIntyre, 40, and
his mother, Emily McIntyre, said they suspected Bulger’s hand in the
disappearance of John McIntyre in 1984 but said nothing out of fear.

“Whitey Bulger had an unbelievable amount of power,” said Chris

McIntyre. “People were afraid of him. l was afraid of him.”
Id.

Christopher McIntyre, in an affidavit submitted in connection with my inquiry concerning
this article, said that his and his family’s opinion that John McIntyre was murdered was only “an
intuitive family feeling that remained dominant until 1999.” I find tantalizing the suggestion that
the “intuitive family feeling” prevailed only until 1999. The affidavit does not say What
happened in 1999 - 4 whether, for example, the feeling dissipated or ripened into something more
substantial. In any event, Christopher McIntyre does not deny the quote attributed to him in the
article,

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in which ludge Ponsor observed that, “the discovery rule puts a burden on plaintiffs once they
have some reason to suspect foul play; accrual may occur long before there is firm confirmation
of the defendant’s culpability.”

The plaintiffs contend, however, that for at least fifteen years, the United States concealed
its involvement in John McIntyre’s death. Specifically, the complaint alleges that “[a]fter
McIntyre’s disappearance agents of the FBI contacted the McIntyre family only to suggest that
[John McIntyre] was a fugitive from justice and would be prosecuted when caught.” Compl. ‘][
299. The plaintiffs contend that, as part of the concealment, the United States sought and
obtained a federal indictment against McIntyre in April 1986. Plaintiff’s Memorandum, Ex. B.
The indictment was not dismissed until March 20, 2000. ld., Ex. G (Dismissal of lndictment and
Arrest Warrants).

There are other circumstances that support the plaintiffs’ claim of concealment. The
January 29, 1995 Bostc)n Globe article cited above stated that “[o]fficially, US Customs officials
still consider John McIntyre a fugitive.” United States’ Motion To Dismiss, Ex. 4. Furthermore,
in 1997, an investigation by the FBI’s Office of Professional Responsibility found “no evidence
of continuing criminal conduct within the statute of limitations” by Connolly or his supervisor at

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‘"/ the FBI, John Morris} in their relationships with Bulger and Flemmi. Plaintiff’s Memorandum,
Ex. F (Ralph Ranalli, Former FBI Agents Cleared in Mob Case, Boston Herald, Dec. 5, 1997, at
6). Finally, Judge Wolf himself indicated that the FBI did not cooperate fully in the investigation
of McIntyre’s death. The judge stated that “important FBI documents concerning John McIntyre
were improperly withheld by agents of the Boston FBI until it was too late to question relevant

witnesses concerning them.” Unirea’ States v. Flemmi, No. 94-10287-MLW, at 13-14 (D. Mass.

Aug. 30, 2001); see als0 Salemme, 91 F. Supp. 2d at 154 n.3.

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The complaint alleges that the FBI’s role in John McIntyre’s death was “disclosed for the
first time” in Judge Wolf’s findings of fact in Salemme. Compl. ‘][ 5 . Four months later, “the
bones of John L. McIntyre were uncovered in a shallow make-shift grave in Dorchester,
Massachusetts.” Id.

The plaintiffs raise several claims against the United States relating to the FBI’s handling
of Bulger and Flemmi: its knowledge of their crimes, its failure to investigate McIntyre’s
disappearance, and its failure to warn or protect McIntyre. The complaint also suggests, as noted
carlier, that FBI agents may have provided information to Bulger and Flemmi concerning John
Mclntyre’s cooperation with law enforcement officials. The United States has moved to dismiss
all counts against it, pursuant to Fed. R. Civ. P. 12(b)(1). Specifically, the United States argues
that the plaintiff’s allegations are insufficient to confer subject matter jurisdiction on the court
because the plaintiff failed to file a timely administrative claim as required by the FTCA. See 28
U.S.C. § 2401(b) (“A tort claim against the United States shall be forever barred unless it is
presented in writing to the appropriate Federal agency within two years after such claim
accrues....”). The United States argues that the plaintiffs’ claim accrued more than two years
before the Estate presented a written notice of its claim on May 25, 2000.

III. Analysis

ln addressing the present motion, I treat as true all well-pleaded facts and all reasonable
inferences therefrom. Valentin v. Hospital Bella Visra, 254 F.3d 358, 363 (1st Cir. 2002). As
noted earlier, because the motion raises jurisdictional questions, l may also look beyond the
complaint to affidavits or other sources of uncontested facts. ld.; Lsee also note l, supra

While the general rule is that a FTCA claim accrues at the time of injury, the First Circuit

applies a “discovery rule” to such claims when “[t]he factual basis for a cause of action [is]

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‘inherently unknowable’ at the time of injury.” Gonzalez, 284 F.3d at 288-89 (quoting Attallah
v. United States, 955 F.2d 776, 780 (lst Cir. 1992)).5 The factual basis for a cause of action is
“inherently unknowable” When “it is incapable of detection through the exercise of reasonable
diligence.” Id. Thus, according to the First Circuit, under the discovery rule, “a claim accrues
when the plaintiff discovers, or in the exercise of reasonable diligence should have discovered,
the factual basis for the cause of action.” ld. at 288.

In the seminal case Unil‘ea’ States v. Kubrick, 444 U.S. 111 (1979), the Supreme Court
described, as the “factual predicate” for a claim, awareness of the plaintiff’s “injury and its
probable cause,” ia’. at 118. Elsewhere in the Kubrick opinion, the Court referred to “the critical
facts that he has been hurt and who hurt him.” Id. at 122. Similarly, the First Circuit has defined
the “factual basis” of a claim as “the injury and its probable cause.” Gonzalez, 284 F.3d at 289.
However, “[t]he plaintiff need not know either the full extent of the injury or that it was
negligently inflicted.” Id. (citations omitted).

Several aspects of this case are unusual and render difficult the application of the
discovery rule to it. First, John McIntyre’s body was not found until more than fifteen years after

his disappearance Thus, this case is unlike the typical wrongful death case, in which “the

 

5 Two recent decisions of the Supreme Court, Rc)tella v. Wood, 528 U.S. 549 (2000), and
TRW, lnc. v. Ana’rews, 534 U.S. 19 (2001), have cast some doubt upon the continuing validity of
judicially-implied discovery rules outside of the medical malpractice and latent disease contexts.
However, given that neither case involved the PTCA and that the First Circuit has, subsequent to
these cases, in Gonz:alez, continued to express the discovery rule in broad terms, not limited to
these contexts (although Gonzalez itself was a medical malpractice case), 1 conclude that it is
appropriate to apply the discovery rule in this case. 284 F.3d at 284; see also Cutting, 204 F.
Supp. 2d at 224. (“[T]his court will not assume that the application of the discovery rule in the
wrongful death context is unwarranted, simply because no Supreme Court or First Circuit case
contains an explicit holding to that effect.”)

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community disturbing event of death is likely to prompt immediate focus by third parties upon
the cause thereof.” Caa'ieux v. lnternational Tel. & Tel. C0., 593 F.Zd 142 (lst Cir. 1979).
Second, although there is evidence tending to support the plaintiffs’ claim of long-term
government concealment of facts relevant to the plaintiffs’ claims, there is also evidence that the
McIntyres did not believe the government’s denials of its involvement in John McIntyre’s
disappearance, Cf. Kronisch v. United States, 150 F.3d 112, 123 n.6 (Zd Cir. 1998) (“The
original concealment did not continue to toll the statute of limitations once [the plaintiff]
became aware of the basic facts of his claim....”). Third, unlike the typical discovery rule
plaintiff, who professes to have no suspicion of either the injury or of the govemment-related
cause, Emily McIntyre had developed, eleven years before filing this suit, a book-length account
of John McIntyre’s death.6 To complicate matters further, this theory, while identical, in its
broadest outline, to the basis for the current suit, differs from it in many details.

This unique combination of circumstances presents a situation for which previously-
decided discovery rule cases provide very little guidance. For example, cases that refer to “the
injury and its probable cause” do not indicate the level of specificity at which the “probable
cause” should be identified The reason for this omission is obvious--a plaintiff in most
instances sues under the same theory of government liability that he first forms. A plaintiff may
not be sure whether the government is responsible for his injury, see, e.g., Gonzalez, 284 F.3d at
290-91 (holding that the plaintiff ’s claim was time-barred even though the plaintiff was unaware
at the time of injury that the allegedly negligent members of the relevant hospital staff were

federal government employees), but in no ease that has been brought to the court’s attention has a

 

° The dust jacket to Valhalla’s Wake indicates that the book is based on discoveries the
authors made “as they turned the old-boy spy network upside down.”
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plaintiff formed the belief that one agency of the government has caused the injury in one way,
only to revise the theory later to accuse another agency of the government of causing the injury in
a similar manner.

All of that said, however, I conclude that a cogent argument can be made that the
plaintiffs’ claims against the United States accrued by at least 1989, when Emily McIntyre
publicly claimed in Valhalla ’s Wake to have formed a firm belief, based on specific facts, that
John McIntyre was murdered because the United States negligently revealed his status as an
informant By that time, her research and investigation had persuaded her sufficiently to justify a
book setting forth two propositions critical to the accrual of the present claims (and, in fact, made
in the present claims): John McIntyre was murdered and an agency of the government bore some
responsibility for his murder. Indeed, one can argue that the plaintiffs’ claims accrued not later
than April 16, 1986, when Loftus, acting as attorney for the present plaintiffs and another
member of the McIntyre family, made a demand on the various federal agencies for damages in
connection with John McIntyre’s death and for the agencies’ files on John McIntyre.7

In the end, l need not rest my decision that the plaintiffs’ claims are time-barred on the
state of Emily Mclntyre’s knowledge in the 1980’s. The record submitted by the parties in
connection with the present motion makes clear that the McIntyres were aware, or in the exercise
of reasonable diligence should have been aware, of ample facts for a claim, under the plaintiffs’
present theory, to have accrued by April, 1998, at the latest. The administrative claim, however,

was not filed until May 25, 2000.

 

7 The United States makes the not implausible argument that the plaintiffs’ claims
accrued by at least the time of the 1985 Loftus letter referred to in Valhalla’s Wake. That letter,
however, is not before me, except by reference to it in the book.

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First, the Mclntyres clearly believed John McIntyre to be dead. Emily and Christopher
McIntyre signed statements authorizing Loftus to pursue a “wrongful death” suit in 1986. Emily
McIntyre requested a headstone marker for John McIntyre in 1986 and death benefits in 1991.
And, of course in 1989, she had co-authored Valhalla’s Wake, which described an elaborate
theory of John Mclntyre’s murder.

The Mclntyres also had access to sufficient facts to form the theory that Bulger, Flemmi,
and their associates were responsible for John Mcl.ntyre’s death, and that the FBI was at least
negligent in their handling of Bulger and Flemmi. The following information, described in more
detail above, appeared in newspaper reports, many of which quoted Emily McIntyre.

' In 1992: AUSA Crossen’s suggestion that Murray may have been involved in Mclntyre’s
death; that McIntyre was last seen with Nee; that Murray and Nee were members of
Bulger’s organizationl

' In 1995: that McIntyre was last seen with Nee; that Murray and Nee were members of
Bulger’s organization; that Bulger helped finance the Valhalla plot.

~ In 1996: that McIntyre was “believed to have been killed by underworld figures;” that the
Valhalla plot was run by Bulger’s organization

' In 1997: that “there was a consensus in law enforcement that Pat Nee, a member of
Bulger’s gang, had brought McIntyre to Bulger and Bulger’s associate, Flemmi, who
later killed him;” that the FBl acknowledged that Bulger and Flemmi were long-time
informants

The existence of media reports that provide the basic elements of a claim does not always

cause a claim to accrue. See Donahue v. Federal Bureau of Investigation, 204 F. Supp. 2d 169,

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177-78 (D. Mass. 2002); Heinrich v. Sweer, 44 F. Supp. 2d 408, 417-18 (D. Mass. 1999).
However, such reports fail to do so only when the plaintiff has not even a “hunch or suspicion of
government wrongdoing.” Heinrich, 44 F. Supp. 2d at 418 (citing Kronisch, 150 F.3d at 122).
Here, not only did the Mclntyres suspect government involvement in John Mclntyre’s death, but
Emily McIntyre was interviewed for, and quoted in, many of the relevant articles.

Furthermore, the record shows that Emily McIntyre attended at least one day of the
Salemme hearings before Judge Wolf in which the relationship between FBI agents, on the one
hand, and Bulger and Flemmi, on the other, was laid bare and widely reported in the local press.
Of especial importance in this regard is the April 16, 1998 article in the Bc)ston Herald.8 This
article not only reports that Emily McIntyre attended a session of the Salemme hearings, but
reports also testimony by a former official of the DEA that he suspected that the FBI had
compromised criminal investigations of Bulger and Flemmi - - precisely one of the allegations
made in this case.

Thus this case is different from Donahue, in which the uncontradicted statements of the
plaintiffs were that they had no suspicion that the revelation of the identity of a government
informant had led to their deceased’s murder. The Donahues claimed that, far from attending the
Salemme hearings, they were unaware even of newspaper articles that described the content of
the hearings. Donahae, 204 F. Supp. 2d at 177-78. Here the plaintiffs do not deny that they were
aware of the press reports linking the FBI to wrongdoing that assisted the criminal activities of

Bulger and Flemmi.

 

3 lt is an irony of this case that this article was published twelve years to the day from the
sending of the 1986 Loftus letter.

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l therefore conclude that any cause of action of the plaintiffs against the United States, of
the nature set forth in the complaint in this case, accrued more than two years before May 25,
2000, the date on which the administrative claim was filed, and that the plaintiffs’ claims against
the United States under the FTCA are time-barred.

The motion to dismiss of the United States is GRANTED.

SO ORDERED.

  

DATED; ~:7/ §///25

_'_,./z Un§%d States__lism‘ct Judge

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